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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-22021-CIV-WILLIAMS/MCALILEY

  LYNDSAY DRAVES,

                  Plaintiff,

  v.

  TURBO POWER, LLC,

                  Defendant.
                                               /

                                     MEDIATOR’S REPORT

           Mediation was held on February 17, 2022, with all parties and their counsel present via

  video conference. A settlement was reached.

                                               Respectfully submitted,

                                               GRAYROBINSON, P.A.
                                               333 S.E. 2nd Avenue, Suite 3200
                                               Miami, Florida 33131
                                               Telephone: (305) 416-6880
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                                               BY:    /s/ Marlene Quintana
                                                      Marlene Quintana, Mediator
                                                      Florida Bar No.: 88358
                                                      marlene.quintana@gray-robinson.com




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on February 18, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that a true and correct copy of the

  foregoing document was served via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing on all counsel or parties of record on the

  Service List below.


                                                BY:     /s/ Marlene Quintana
                                                        Marlene Quintana, Mediator




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